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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA et al.,

                        Plaintiffs,
                                                         Case No. 1:18-cv-02340-RJL
v.

CVS HEALTH CORPORATION

and

AETNA INC.,

                        Defendants.



     NOTICE OF PROPOSED ACQUISITION OF WELLCARE HEALTH PLANS, INC.
                       BY CENTENE CORPORATION

        In order to keep the Court informed of developments in this matter, the United States

notifies the Court that on March 27, 2019, Centene Corporation announced an agreement to

acquire WellCare Health Plans, Inc., the divestiture buyer in this case. The attached letter and

press release describe the proposed acquisition. With respect to the individual PDP business that

is the subject of the United States’ Complaint in this matter, Centene does not compete for the

sale of individual PDPs anywhere in the United States.

        The transaction will be reviewed by the Department of Justice and, as the transaction is

conditioned on clearance under the Hart–Scott–Rodino Antitrust Improvements Act, 15 U.S.C.

§ 18(a), and receipt of state regulatory approvals, Centene and WellCare do not expect to close

the transaction until the first half of 2020.
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Dated: April 3, 2019



                                                Respectfully submitted,



                                                             /s/              _
                                                Jay D. Owen
                                                U.S. Department of Justice
                                                Antitrust Division
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                                                Washington, D.C. 20530
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                                 CERTIFICATE OF SERVICE

       I, Jay D. Owen, hereby certify that on April 3, 2019, I caused a copy of the foregoing

document to be served upon Plaintiffs State of California, State of Florida, State of Hawaii, State

of Washington, and Defendants CVS Health Corporation and Aetna Inc., via the Court’s

CM/ECF system, and to be served upon Plaintiff State of Mississippi by mailing the document

electronically to its duly authorized legal representative:


Counsel for State of Mississippi:
Crystal Utley Secoy
Consumer Protection Division
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                                                                    /s/              _
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